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                                 IN THE UNITED STATES DISTRICT COURT
11                               FOR THE NORTHERN MARIANA ISLANDS
12

                                                             Case No. 19-cv-0008
13      JOSHUA GRAY,
14                                                            APPLICATION FOR WRIT
                                            Plaintiff,
                                                              OF EXECUTION ON
15                                                            IMPERIAL PACIFIC
                                 v.
                                                              INTERNATIONAL (CNMI), LLC’S
16                                                            PERSONAL PROPERTY
        IMPERIAL PACIFIC INTERNATIONAL
17      (CNMI), LLC,
                                                              Hearing Date: n/a
                                                              Hearing Time: n/a
18                                         Defendant.
                                                              Judge: Hon. Ramona V. Manglona
19

20
            Pursuant to Fed. R. Civ. P. 69, N. Mar. I. R. Civ. P. 69, and 7 CMC §§ 4203, 4204, 4210, and
21
     based on the Declaration of Aaron Halegua, dated July 2, 2023 (“Halegua Decl.”) filed herewith,
22
     Plaintiff hereby applies for a writ of execution, in the form attached as Exhibit 1, to be directed to
23
     judgment debtor Imperial Pacific International (CNMI), LLC (“IPI”).
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1           1.       The Court entered a judgment in this case on May 31, 2023, in favor of Plaintiff, in the

2    amount of $5,686,182.20 plus pre-judgment interest, post-judgment interest, and attorneys’ fees and
     costs, against IPI (ECF No. 226 (the “Judgment”)).
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            2.       On June 29, 2023, IPI filed a notice of appeal concerning the Judgment. (ECF No. 230).
4
            3.       The Judgment was entered more than thirty days ago, but the Judgment remains
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     unsatisfied in the amount of $5,686,182.20, plus interest, attorneys’ fees, and costs. Further, IPI has
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     not posted a supersedeas bond and has not obtained an order staying IPI’s execution on the Judgment
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     as of the date of this motion. See Fed. R. Civ. P. 62.
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            4.       Fed. R. Civ. P. 69(a)(1) provides that a “money judgment is enforced by a writ of
9    execution, unless the court directs otherwise,” and that the “procedure on execution … must accord
10   with the procedure of the state where the court is located.” Pursuant to CNMI law, “[t]he process to
11   enforce a judgment for the payment of money may be a writ of execution or an order in aid of

12   judgment”. 7 CMC § 4101.

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            5.       The Commonwealth Code, 7 CMC § 4203, provides that: “[t]he court, at the
     request of the party recovering any civil judgment in that court for the payment of money, shall issue
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     a writ of execution against the personal property of the party against whom the judgment has been
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     rendered, except as provided in 7 CMC § 4210.” The subsequent section, 7 CMC § 4204, sets forth
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     the procedures for levying execution.
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            6.       Commonwealth statute and court rules provide little guidance as to the particular
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     procedure to follow when enforcing a judgment through writ of execution. J.C. Tenorio Ent., Inc. v.
19   Lalaine J. Baltazar, Civ. No. 96-1082, at *3 (NMI Super. Ct. Aug. 8, 2014) (Order Denying
20   Motion Re: Enforcement of Money Judgment at 2). However, “[t]o comply with 7 CMC § 4204,
21   the writ must include an accounting of the amount of money necessary to satisfy the judgment and

22   applicable costs and fees and instructions for the levying officer. And, to comply with 7 CMC

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1    § 4210, the writ must be served on the judgment debtor, even in the case of default, and include

2    notice of the exemptions and notice of an upcoming hearing on the exemptions.”1 Id. at *3 n.1.
            7.       As part of prior litigations involving IPI’s creditors, IPI has provided various lists of
3
     assets and estimates of the value of those assets. See Wang v. IPI, ECF Nos. 352-1, 352-3. A
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     description of these various assets and the estimated value thereof is explained more fully in
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     declaration submitted along with this application. (See Halegua Decl. ¶¶6–11).
6
            8.       Plaintiff requests the Court to issue a writ of execution to have IPI’s Vehicles,2 IPI’s
7
     Liquor, IPI’s Dragons, IPI’s Computer Hardware, IPI’s Furniture and Equipment, and IPI’s Casino-
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     Related and Security Equipment,3 as those terms are defined in the Halegua Declaration, as well as any
9    other non-exempt personal property that are identified by Plaintiff, sold in an auction in order to
10   pay Plaintiff and satisfy the Judgment. The total resale value of these assets will likely not exceed the
11   value of Plaintiff’s Judgment; and, if the funds from the sale are sufficient to pay the Judgment, then

12   the further sale of IPI’s assets may be stopped. (Halegua Decl. ¶12).

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            9.       Plaintiff also requests that the Court order IPI to maintain any required registrations
     and insurance for all of the assets identified above, and any other personal property, and maintain these
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     items in good condition. The order should also require IPI to store each seized item in its current
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17   1 The language of 7 CMC § 4210 and nature of the enumerated exemptions suggest that the
     exemptions only apply when the debtor is a natural person. See J.C. Tenorio Ent., Inc., Civ. No. 96-
18
     1082 at 2–3 (hearing on exemptions required when debtor is a “natural person”) (emphasis added).
19
     2  Plaintiff acknowledges that a writ of execution on IPI’s motor vehicles and heavy equipment was
20   recently issued in U.S.A. Fanter v. IPI, No. 21-cv-0035 (“Fanter II”), ECF Nos. 37, 38, to satisfy
     Fanter’s judgment of $226,127.05 plus interest. While the Court acknowledges that the current value
21   of those assets is likely significantly less than the Kelley Blue Book value of the cars ($1,051,304.00),
     it is still possible that they may be auctioned for more than the value of Fanter’s judgment. (See
22
     Halegua Decl. ¶6). Accordingly, by execution of this writ, Plaintiff seeks priority as to any unsold
     vehicles or funds still available after Fanter’s judgment is satisfied.
23
     3 Plaintiff acknowledges that much of IPI’s gaming equipment is already subject to the Limited
24
     Receivership established in the Fanter case. Nonetheless, to the extent that there may be equipment
     identified as part of IPI’s list of assets, but not subject to the Limited Receivership, Plaintiff seeks a
     writ of attachment as to those items. (See Halegua Decl. ¶11).

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1    location, wherever it is found. (However, most items that will be seized are believed to be either inside

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     the IPI casino, at its storage facilities, or in an underground parking lot.)
             10.     Plaintiff has included a writ of execution notice attached as Exhibit 2 to be served upon
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     IPI in order to notify IPI of its rights for a hearing on exemptions prior to any sale.
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             11.     WHEREFORE, Plaintiff applies for a writ of execution directed at judgment debtor
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     IPI, in the amount of $5,686,182.20, to be served upon IPI. Plaintiff requests the Court set a hearing
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     upon the return of the writ so as to provide IPI with the opportunity to advance any applicable
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     exemptions.
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9            Respectfully submitted on July 3, 2023.
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                                                        _______/s/________________
12                                                      Aaron Halegua
                                                        Bruce L. Berline
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                                                        Attorneys for Plaintiff

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